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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                             CIVIL ACTION NO. 20-10196-RWZ


                       In re: BLAST FITNESS GROUP, LLC, Debtor

                GARY W. CRUICKSHANK, CHAPTER 7 TRUSTEE OF THE
                     ESTATE OF BLAST FITNESS GROUP, LLC,

                                              v.

                                 HAROLD R. DIXON, et al.


                                           ORDER

                                      February 10, 2020




ZOBEL, S.D.J.

         The defendants’ motion to withdraw the refence of this matter to the Bankruptcy

Court (Docket #1) is stayed pending completion of pre-trial discovery in the Bankruptcy

Court.

         Counsel shall file a status report in this Court on or before August 10, 2020.



SO ORDERED.



 February 10, 2020                                    /s/ Rya W. Zobel
         DATE                                          RYA W. ZOBEL
                                            SENIOR UNITED STATES DISTRICT JUDGE
